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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

APPEAL NO, 24-1945

DISTRICT COURT NO. 23-10171
HON. DENISE PAIGE HOOD

IN RE:
CHRISTOPHER D. WYMAN _ BANK CASE NO. 12-32264
Debtor(s), CHAPTER 7

HON: D. 8S. OPPERMAN

- MICHAEL E. TINDALL,
Appellant,
Vv.

SAMUEL D. SWEET,
Appellee.

A. DOCKET ENTRIES
B. NOTICE OF APPEAL

C. ORDERS BEING APPEALED (as previously attached to Notice of
Appeal)

D. ITEMS DESIGNATED BY APPELLANT (Listed below).
DISTRICT COURT DOCKET ENTRY
4 Designated Bankruptcy Record.
11 Appellant's Motion for Leave to Enlarge Appellate Record. (Part 1 of 8)
(Attachments:# 1 Document Continuation, # 2 Document Continuation, # 3
Document Continuation, # 4 Document Continuation, # 5 Document

Continuation, # 6 Document Continuation, # 7 Document Continuation, # 8
Document Continuation, # 9 Document Continuation)
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12 Designated Bankruptcy Record. Part 2 of 8 (Attachments: # 1 Document
Continuation, # 2 Exhibit, # 3 Document Continuation, # 4 Document
Continuation, # 5 Document Continuation, # 6 Document Continuation, #7
Document Continuation, # 8 Document Continuation, # 9 Document
Continuation)

13 Designated Bankruptcy Record. Part 3 of 8 (Attachments: # 1 Document
Continuation, # 2 Document Continuation, # 3 Document Continuation, # 4
Document Continuation, # 5 Document Continuation, # 6 Document
Continuation, # 7 Document Continuation, # 8 Document Continuation, #9
Document Continuation)

14 Designated Bankruptcy Record. Part 4 of 8 (Attachments: # 1 Document
Continuation, # 2 Document Continuation, # 3 Document Continuation, # 4
Document Continuation, # 5 Document Continuation, # 6 Document
Continuation, # 7 Document Continuation, # 8 Document Continuation, #9
Document Continuation)

15 Designated Bankruptcy Record. Part 5 of 8 (Attachments: # 1 Document
Continuation, # 2 Document Continuation, # 3 Document Continuation, # 4
Document Continuation, # 5 Document Continuation, # 6 Document
Continuation, # 7 Document Continuation, # 8 Document Continuation, #9
Document Continuation)

16 Designated Bankruptcy Record. Part 6 of 8 (Attachments: # 1 Document
Continuation,# 2 Document Continuation, # 3 Document Continuation, # 4
Document Continuation,# 5 Document Continuation, # 6 Document
Continuation, # 7 Document Continuation,# 8 Document Continuation, # 9
Document Continuation, # 10 Document Continuation)

16 Designated Bankruptcy Record. Part 6 of 8 (Attachments: # 1 Document
Continuation, # 2 Document Continuation, # 3 Document Continuation, # 4
Document Continuation, # 5 Document Continuation, # 6 Document
Continuation, # 7 Document Continuation, # 8 Document Continuation, # 9
Document Continuation, # 10 Document Continuation)

17 Designated Bankruptcy Record. Part 7 of 8 (Attachments: # 1 Document
Continuation, # 2 Document Continuation, # 3 Document Continuation, # 4
Document Continuation, # 5 Document Continuation, # 6 Document
Case 2:23-cv-10171-DPH-EAS ECF No. 43, PagelD.2022 Filed 11/08/24 Page 3 of 3

Continuation, # 7 Document Continuation, # 8 Document Continuation, # 9
Document Continuation)

18 Designated Bankruptcy Record. Part 8 of 8 (Attachments: # 1 Document
Continuation, # 2 Document Continuation, # 3 Document Continuation, # 4
Document Continuation, # 5 Document Continuation, # 6 Document
Continuation, # 7 Document Continuation, # 8 Document Continuation, # 9
Document Continuation, # 10 Document Continuation, # 11 Document
Continuation, # 12 Document Continuation)

19 Designated Bankruptcy Record. (Attachments: # | Document
Continuation, # 2 Document Continuation, # 3 Document Continuation, # 4
Document Continuation, # 5 Document Continuation, # 6 Document
Continuation, # 7 Document Continuation)

20 ORDER Granting 11 Motion to Enlarge Appellate Record and Certifying
Supplementary Record Materials. Signed by District Judge David M.
Lawson.

31 NOTICE of Appellants FRBP 8014(f) Citation of Supplemental
Authority by Michael E. Tindall (Attachments: # 1 Exhibit)

33 NOTICE, Brief and Certification of Disqualification of Hon. Denise Page
Hood by Michael E Tindall (Attachments: # 1 Exhibit A, # 2 Exhibit B.

34 ORDER regarding notice and denying 33 Request for disqualification.
Signed by District Judge Denise Page Hood.

39 ORDER Denying Appellant's Appeal 27 . Signed by District Judge
Denise Page Hood.

40 JUDGMENT Signed by District Judge Denise Page Hood.

Z
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Dated: 11/7/2024

